                     Case 18-12974-BFK
 Fill in this information to identify your case and this filing:
                                                                      Doc 21            Filed 09/17/18 Entered 09/17/18 11:52:45                                                       Desc Main
                                                                                       Document      Page 1 of 67
  Debtor 1                          Jeffrey                      D.                         Pattock
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Nadine                       R.                         Pattock
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                           Eastern District of Virginia
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                   18-12974                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     47 Liberty Knolls Drive                                         What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Stafford, VA 22554                                             ❑ Land                                                                                  $680,000.00                    $680,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other                                                                     estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Tenancy By The Entirety
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Source of Value:
                                                                             Comps from Agent



    If you own or have more than one, list here:

      1.2     6722 Spring Forest                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              San Antonio, TX 78249                                          ❑ Land                                                                                  $120,000.00                    $120,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Bexar
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $800,000.00




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 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Lincoln                   Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   MKX
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2016                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   64471                                                                                                   entire property?            portion you own?
            Approximate mileage:                                                                                                                                        $22,896.00                 $22,896.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Chrysler                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                                             ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
                                                                             ✔ Debtor 2 only
                                                   200C
            Model:
                                                                             ❑                                                                               Creditors Who Have Claims Secured by Property.
                                                   2015                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   23649                                                                                                   entire property?            portion you own?
            Approximate mileage:                                                                                                                                        $13,048.00                 $13,048.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




       3.3 Make:                                   Chrysler                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Pacifica
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2017                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   28239                                                                                                   entire property?            portion you own?
            Approximate mileage:                                                                                                                                        $23,973.00                 $23,973.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $59,917.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
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 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                          Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.
                                                                                                                                                            $660.00


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Electronics                                                                                                           $100.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Clothes                                                                                                               $150.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      See Attached.
                                                                                                                                                            $175.00




Official Form 106A/B                                                              Schedule A/B: Property                                                 page 3
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 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses
       ✔ No
       ❑
       ❑ Yes. Describe........                                                                                                                                                                           unknown



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                      $1,085.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                               Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................
       ❑                                                                                                                                                               Cash..............
                                                                                                                                                                                                             $1.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                               17.1. Checking account:                                    NFCU *6571                                                                                     $2,823.01


                                               17.2. Checking account:                                    USAA *6994                                                                                         $1.43


                                               17.3. Savings account:                                     NFCU *8981                                                                                         $7.89


                                               17.4. Savings account:                                     USAA *4269                                                                                         $1.00


                                               17.5. Certificates of deposit:


                                               17.6. Other financial account:


                                               17.7. Other financial account:


                                               17.8. Other financial account:


Official Form 106A/B                                                                                                    Schedule A/B: Property                                                          page 4
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                                       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
                                       Type of account:            Institution name:

                                       IRA:                        USAA IRA                                                                  $1,800.00

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
                                       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                                   Schedule A/B: Property                                page 5
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                    Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                           Federal:
                 them, including whether you
                 already filed the returns and the                                                                         State:
                 tax years.......................
                                                                                                                           Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                           Alimony:

                                                                                                                           Maintenance:

                                                                                                                           Support:

                                                                                                                           Divorce settlement:

                                                                                                                           Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                            Schedule A/B: Property                                                       page 6
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 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑            Name the insurance company
                                                                                                                                        Surrender or refund
                    of each policy and list its value....                  Company name: Beneficiary:                                                value:
                                                                           Lincoln Financial Group Term
                                                                           life through work

                                                                                                          Lincoln Financial Group Term
                                                                                                    $1.00 Life

                                                                                                    $1.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.

       ❑ No
       ✔ Yes.
       ❑            Give specific information..........                Inchoate Inheritance
                                                                                                                                                                                               $2.00




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜               $4,801.05



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                               Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                         page 7
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 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                              claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                        page 8
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 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜              $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                               $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜   $800,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $59,917.00


 57.   Part 3: Total personal and household items, line 15                                                                     $1,085.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                 page 9
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 58.   Part 4: Total financial assets, line 36                                                                     $4,801.05


 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                            $65,803.05           Copy personal property total➜    +   $65,803.05




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................         $865,803.05




Official Form 106A/B                                                                                 Schedule A/B: Property                                                   page 10
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                                                      SCHEDULE A/B: PROPERTY
                                                              Continuation Page

 6.   Household goods and furnishings
      Bedroom Furniture                                                                                                          $300.00
      Kitchen Furniture & Appliances                                                                                              $15.00
      Living Room & Family Room Furniture                                                                                        $300.00
      Items in Garage                                                                                                             $45.00

 12. Jewelry
      2 Watches                                                                                                                    $5.00
       Wedding & Engagement Jewelry                                                                                              $150.00
      Costume Jewelry                                                                                                             $20.00

 17. Deposits of money
      Checking account:             Bank of America *3791                                                                          $1.43
      Checking account:             Schwab *7559                                                                                  $50.12
      Savings account:              Amex *9927                                                                                    $53.58
      Savings account:              Barclays *1824                                                                                $52.59
      Savings account:              NFCU *4759                                                                                     $5.00




Official Form 106A/B                                                  Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Jeffrey              D.                  Pattock
                              First Name           Middle Name         Last Name

  Debtor 2                    Nadine               R.                  Pattock
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Eastern District of Virginia

  Case number                           18-12974                                                                                       ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 47 Liberty Knolls Drive Stafford, VA 22554                              $680,000.00
                                                                                         ❑                   $0.00                11 U.S.C. § 522(b)(3)(B)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2016 Lincoln MKX                                                          $22,896.00
                                                                                         ❑                   $1.00                Va. Code Ann. § 34-26(8)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 4
               Case 18-12974-BFK                 Doc 21       Filed 09/17/18 Entered 09/17/18 11:52:45                                 Desc Main
                                                             Document     Page 13 of 67
 Debtor 1             Jeffrey             D.                    Pattock
 Debtor 2             Nadine              R.                    Pattock                                           Case number (if known) 18-12974
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 2015 Chrysler 200C                                                 $13,048.00
                                                                                   ❑                  $1.00                   Va. Code Ann. § 34-26(8)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        3.2


                                                                                   ✔
 Brief description:
 2017 Chrysler Pacifica                                             $23,973.00
                                                                                   ❑                  $1.00                   Va. Code Ann. § 34-26(8)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        3.3


                                                                                   ✔
 Brief description:
 Bedroom Furniture                                                     $300.00
                                                                                   ❑                 $300.00                  Va. Code Ann. § 34-26(4a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Kitchen Furniture & Appliances                                           $15.00
                                                                                   ❑                 $15.00                   Va. Code Ann. § 34-26(4a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Living Room & Family Room Furniture                                   $300.00
                                                                                   ❑                 $300.00                  Va. Code Ann. § 34-26(4a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Items in Garage                                                          $45.00
                                                                                   ❑                 $45.00                   Va. Code Ann. § 34-26(4a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Electronics                                                           $100.00
                                                                                   ❑                 $100.00                  Va. Code Ann. § 34-26(4a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         7


                                                                                   ✔
 Brief description:
 Clothes                                                               $150.00
                                                                                   ❑                 $150.00                  Va. Code Ann. § 34-26(4)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        11


                                                                                   ✔
 Brief description:
 2 Watches                                                                 $5.00
                                                                                   ❑                  $5.00                   Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        12




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    page 2 of 4
               Case 18-12974-BFK                 Doc 21       Filed 09/17/18 Entered 09/17/18 11:52:45                                 Desc Main
                                                             Document     Page 14 of 67
 Debtor 1             Jeffrey             D.                    Pattock
 Debtor 2             Nadine              R.                    Pattock                                           Case number (if known) 18-12974
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 Wedding & Engagement Jewelry                                          $150.00
                                                                                   ❑                 $150.00                  Va. Code Ann. § 34-26(1a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        12


                                                                                   ✔
 Brief description:
 Costume Jewelry                                                          $20.00
                                                                                   ❑                 $20.00                   Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        12


                                                                                   ✔
 Brief description:
 Cash                                                                      $1.00
                                                                                   ❑                  $1.00                   Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        16


                                                                                   ✔
 Brief description:
 NFCU *6571                                                          $2,823.01
                                                                                   ❑                $2,823.01                 Va. Code Ann. § 34-4

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 USAA *6994                                                                $1.43
                                                                                   ❑                  $1.43                   Va. Code Ann. § 34-4

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 Bank of America *3791                                                     $1.43
                                                                                   ❑                  $1.43                   Va. Code Ann. § 34-4

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 NFCU *8981                                                                $7.89
                                                                                   ❑                  $7.89                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                   ✔
 Brief description:
 USAA *4269                                                                $1.00
                                                                                   ❑                  $1.00                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    page 3 of 4
               Case 18-12974-BFK                  Doc 21      Filed 09/17/18 Entered 09/17/18 11:52:45                                 Desc Main
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 Debtor 1             Jeffrey             D.                    Pattock
 Debtor 2             Nadine              R.                    Pattock                                           Case number (if known) 18-12974
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 Amex *9927                                                               $53.58
                                                                                   ❑                 $53.58                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                   ✔
 Brief description:
 Barclays *1824                                                           $52.59
                                                                                   ❑                 $52.59                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                   ✔
 Brief description:
 NFCU *4759                                                                $5.00
                                                                                   ❑                  $5.00                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                   ✔
 Brief description:
 Schwab *7559                                                             $50.12
                                                                                   ❑                 $50.12                   Va. Code Ann. § 34-4

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:          17


                                                                                   ✔
 Brief description:
 USAA IRA                                                            $1,800.00
                                                                                   ❑                $1,800.00                 Va. Code Ann. § 34-34
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          21


                                                                                   ✔
 Brief description:
 Lincoln Financial Group Term life through work                            $1.00
                                                                                   ❑                  $1.00                   Va. Code Ann. §§ 38.2-3339
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          31


                                                                                   ✔
 Brief description:
 Lincoln Financial Group Term Life                                         $1.00
                                                                                   ❑                  $1.00                   Va. Code Ann. §§ 38.2-3122, 3123
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          31


                                                                                   ✔
 Brief description:
 Inchoate Inheritance                                                      $2.00
                                                                                   ❑                  $2.00                   Va. Code Ann. § 34-4
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:          32




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 4 of 4
                Case 18-12974-BFK
 Fill in this information to identify your case:
                                                           Doc 21      Filed 09/17/18 Entered 09/17/18 11:52:45                                  Desc Main
                                                                      Document     Page 16 of 67
  Debtor 1                       Jeffrey              D.                   Pattock
                                 First Name           Middle Name         Last Name

  Debtor 2                       Nadine               R.                   Pattock
  (Spouse, if filing)            First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                            Eastern District of Virginia

  Case number                              18-12974                                                                                          ❑   Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B             Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of             Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that      portion
                                                                                                                      value of collateral.    supports this        If any
                                                                                                                                              claim
2.1 Chase Auto                                              Describe the property that secures the claim:                        $36,430.96          $22,896.00        $13,534.96
     Creditor's Name
                                                             2016 Lincoln MKX
      PO Box 901003
     Number             Street
      Fort Worth, TX 76101                                  As of the date you file, the claim is: Check all that apply.
     City                             State    ZIP Code     ❑Contigent
     Who owes the debt? Check one.                          ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                      ❑Disputed
     ❑Debtor 2 only                                         Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                            ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                  secured car loan)
     ❑Check if this claim relates to a                      ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                            ❑Judgment lien from a lawsuit
     Date debt was incurred                                 ❑Other (including a right to offset)
                                                            Last 4 digits of account number 1         7    3    2

      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $36,430.96




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 3
 Debtor 1     CaseJeffrey
                    18-12974-BFK
                              D.                       Doc 21      Filed
                                                                   Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2              Nadine                R.                   Document
                                                                   Pattock      Page 17 of 67    Case number (if known) 18-12974
                       First Name            Middle Name              Last Name


                                                                                                                       Column A                Column B              Column C
              Additional Page                                                                                          Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                            Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                 value of collateral.    supports this         If any
                                                                                                                                               claim


 2.2 Citizen Auto Finance                               Describe the property that secures the claim:                             $18,066.23          $13,048.00         $5,018.23
     Creditor's Name
                                                         2015 Chrysler 200C
     480 Jefferson Blvd
     Number          Street
     Warwick, RI 02886                                  As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ❑Debtor 1 only                                     ❑Disputed
     ✔ Debtor 2 only
     ❑                                                  Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                        ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
                                                        Last 4 digits of account number 4         6    5    9



 2.3 Fidelity Bank                                      Describe the property that secures the claim:                             $49,171.82          $23,973.00        $25,198.82
     Creditor's Name
                                                         2017 Chrysler Pacifica
     3 Corporate Sq NE Ste 110
     Number          Street
     Atlanta, GA 30329                                  As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                  ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                        ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
                                                        Last 4 digits of account number 1         4    6    3



      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $67,238.05




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
 Debtor 1     CaseJeffrey
                    18-12974-BFK
                              D.                       Doc 21      Filed
                                                                   Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2              Nadine                R.                   Document
                                                                   Pattock      Page 18 of 67    Case number (if known) 18-12974
                       First Name            Middle Name              Last Name


                                                                                                                       Column A                Column B              Column C
              Additional Page                                                                                          Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                            Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                 value of collateral.    supports this         If any
                                                                                                                                               claim


 2.4 Nationstar Mortgage/Mr. Cooper                     Describe the property that secures the claim:                             $56,993.00         $120,000.00               $0.00
     Creditor's Name
                                                         6722 Spring Forest San Antonio, TX 78249
     8950 Cypress Waters Blvd
     Number          Street
     Coppell, TX 75019                                  As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ❑Debtor 1 only                                     ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                  ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
                                                        Last 4 digits of account number 5         3    2    0



 2.5 Pennymac Loan Svcs                                 Describe the property that secures the claim:                           $685,263.44          $680,000.00         $5,263.44
     Creditor's Name
                                                         47 Liberty Knolls Drive Stafford, VA 22554
     PO Box 514387
     Number          Street
     Los Angeles, CA 90051                              As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ❑Debtor 1 only                                     ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ✔ Debtor 1 and Debtor 2 only
     ❑                                                  ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
                                                        Last 4 digits of account number 9         0    2    4


      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $742,256.44
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                    $845,925.45
      here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
                Case 18-12974-BFK
 Fill in this information to identify your case:
                                                        Doc 21     Filed 09/17/18 Entered 09/17/18 11:52:45                                      Desc Main
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  Debtor 1                   Jeffrey               D.                  Pattock
                             First Name            Middle Name        Last Name

  Debtor 2                   Nadine                R.                  Pattock
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                           18-12974                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

2.1      IRS Centralized Insolvency OP 1 of 3                                                                                       $2,500.00       $2,500.00            $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred? 2015
         Po Box 7436
                                                                    As of the date you file, the claim is: Check all that
        Number           Street
                                                                    apply.
         Philadelphia, PA 19101-7436                                ❑ Contingent
        City                               State   ZIP Code
                                                                    ❑ Unliquidated
        Who incurred the debt? Check one.                           ❑ Disputed
        ❑ Debtor 1 only
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
                                                                    ❑ Domestic support obligations
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                           ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ❑ Other. Specify
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 18
 Debtor 1          CaseJeffrey
                         18-12974-BFK
                                   D.                  Doc 21        Filed
                                                                     Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2              Nadine                 R.                    Document
                                                                     Pattock      Page 20 of 67    Case number (if known) 18-12974
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     American Express                                                          Last 4 digits of account number 3793                                                $2,085.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        El Paso, TX 79998
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.2     American Express                                                          Last 4 digits of account number 8873                                                $4,951.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        El Paso, TX 79998
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.3     American Express                                                          Last 4 digits of account number 2143                                                $3,878.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        El Paso, TX 79998
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes



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 Debtor 2              Nadine                 R.                    Pattock                                            Case number (if known) 18-12974
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.4     Capital One                                                           Last 4 digits of account number 6886                                         $20,256.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 30285
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.5     Capital One                                                           Last 4 digits of account number 2405                                          $4,596.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 30285
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.6     Capital One                                                           Last 4 digits of account number 9622                                         $20,791.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 30285
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.7     Capital One                                                           Last 4 digits of account number 0435                                          $1,957.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 30285
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.8     Chase Card                                                            Last 4 digits of account number 6018                                         $16,036.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15298
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.9     Chase Card                                                            Last 4 digits of account number 3664                                               $926.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15298
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.10    Chase Card                                                            Last 4 digits of account number 4685                                         $16,553.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15298
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.11    Chase Card                                                            Last 4 digits of account number 6547                                          $5,831.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15298
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.12    Chase Card                                                            Last 4 digits of account number 4941                                         $16,370.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15298
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.13    Citi Cards/Citibank                                                   Last 4 digits of account number 4511                                         $19,313.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 6241
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57117                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.14    Citi Cards/Citibank                                                   Last 4 digits of account number 4226                                         $20,476.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 6241
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57117                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.15    Citi Cards/Citibank                                                   Last 4 digits of account number 4885                                          $5,319.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 6241
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57117                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.16    Dept of Veterans Affairs                                              Last 4 digits of account number 8595                                               $391.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 11930
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Saint Paul, MN 55111                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Collection
       ❑      Yes
4.17    Dept of Veterans Affairs                                              Last 4 digits of account number 8595                                               $818.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 11930
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Saint Paul, MN 55111                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Collection
       ❑      Yes
4.18    Discover Financial Services                                           Last 4 digits of account number 1132                                          $9,361.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15316
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.19    Discover Financial Services                                           Last 4 digits of account number 3651                                         $13,998.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 15316
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.20    Fairfax Radiological Consultants PC                                   Last 4 digits of account number 0856                                               $293.46
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        2722 Merrilee Dr. Ste 230
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fairfax, VA 22031                                                     ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.21    Inova Dept of Medicine                                                Last 4 digits of account number 0889                                                $28.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3300 Gallows Rd.
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Falls Church, VA 22042                                                ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.22    Inova Exec Health Sub Machine                                         Last 4 digits of account number 0889                                                $56.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3300 Gallows Rd.
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Falls Church, VA 22042                                                ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.23    Inova Fairfax Hospital                                                Last 4 digits of account number 8889                                               $830.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3300 Gallows Rd.
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Falls Church, VA 22042                                                ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.24    Inova Medcial Group Cardiology                                        Last 4 digits of account number 0889                                                $21.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3650 Joseph Siewick Dr Ste 204
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fairfax, VA 22033                                                     ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.25    Inova Traumatology & General Surgery                                  Last 4 digits of account number 0889                                               $28.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3300 Gallows Rd.
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Falls Church, VA 22042                                                ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.26    Kohls/CapOne                                                          Last 4 digits of account number 0066                                              $347.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 3115
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Milwaukee, WI 53201                                                   ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.27    Kohls/CapOne                                                          Last 4 digits of account number 0093                                              $575.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 3115
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Milwaukee, WI 53201                                                   ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.28    Maria Delgado                                                                                                                                       unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        6722 Spring Forest St
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78249                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Misc
       ❑      Yes
4.29    Mary Washington Healthcare                                            Last 4 digits of account number 3998                                               $25.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        2300 Fall Hill Ave. 101
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.30    Mary Washington Hospital                                              Last 4 digits of account number 9194                                              $673.86
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1001 Sam Perry Blvd
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.31    Mary Washington Hospital                                              Last 4 digits of account number 7489                                               $60.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1001 Sam Perry Blvd
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.32    Mary Washington Hospital                                              Last 4 digits of account number 9577                                              $320.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1001 Sam Perry Blvd
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.33    Moxie Pest Control                                                                                                                                      $300.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        14301 Sullyfield Cir Ste G
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Chantilly, VA 20151                                                   ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Misc
       ❑      Yes




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                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.34    Navy Federal Credit Union                                             Last 4 digits of account number 9367                                          $4,976.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 3700
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Merrifield, VA 22119                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.35    Navy Federal Credit Union                                             Last 4 digits of account number 5018                                         $26,637.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        PO Box 3700
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Merrifield, VA 22119                                                  ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Credit Card
       ❑      Yes
4.36    Patino, Rafael                                                                                                                                      unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        6722 Spring Forest St
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78249                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Misc
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.37    Radiologic Associates of Fredericksburg                               Last 4 digits of account number 2713                                               $87.44
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        4718 Carr Dr
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22408                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes
4.38    Sunrise Credit Svcs/AT&T                                              Last 4 digits of account number 6896                                          $1,743.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        234 Airport Plaza Blvd, Ste 4
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Farmingdale, NY 11735                                                 ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Collection
       ❑      Yes
4.39    Tajammul Ehsan MD                                                     Last 4 digits of account number 7810                                              $221.89
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        8622 Lee Hwy C
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fairfax, VA 22031                                                     ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.40    Trinity Wiring & Monitoring                                                                                                                             $250.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        8610 Virginia Meadows Dr
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Manassas, VA 20109                                                    ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Misc
       ❑      Yes
4.41    Trugreen                                                              Last 4 digits of account number 8013                                              $532.67
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1790 Kirby Pkwy Ste 300
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Memphis, TN 38138-7411                                                ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Misc
       ❑      Yes
4.42    Virginia Cardiovascular Consultants PC                                Last 4 digits of account number 2861                                               $20.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1201 Sam Perry Blvd Ste 280
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fredericksburg, VA 22401                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                            page 15 of 18
               Case 18-12974-BFK                     Doc 21      Filed 09/17/18 Entered 09/17/18 11:52:45                                      Desc Main
 Debtor 1              Jeffrey             D.                   Document
                                                                 Pattock     Page 34 of 67
 Debtor 2              Nadine              R.                      Pattock                                           Case number (if known) 18-12974
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Diversified Consultants Inc                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 1391                                                   Line 4.38 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Southgate, MI 48195
       City                                  State      ZIP Code      Last 4 digits of account number

        Sunrise Credit Services                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 9100                                                   Line 4.38 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Farmingdale, NY 11735
       City                                  State      ZIP Code      Last 4 digits of account number

        AT&T                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 536216                                                 Line 4.38 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Atlanta, GA 30353
       City                                  State      ZIP Code      Last 4 digits of account number

        Alltran Financial Express Co                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 722929                                                 Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Houston, TX 77272
       City                                  State      ZIP Code      Last 4 digits of account number

        ODC Recovery/Mary Washington                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        2300 Fall Hill Ave Ste 314                                    Line 4.32 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Fredericksburg, VA 22401
       City                                  State      ZIP Code      Last 4 digits of account number

        Creditors Collection Service                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO BOX 21504                                                  Line 4.37 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Roanoke, VA 24018
       City                                  State      ZIP Code      Last 4 digits of account number

        Transworld Systems                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        9525 Sweet Valley Dr Bldg A                                   Line 4.41 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Valley View, OH 44125
       City                                  State      ZIP Code      Last 4 digits of account number




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 16 of 18
              Case 18-12974-BFK                 Doc 21    Filed 09/17/18 Entered 09/17/18 11:52:45                                     Desc Main
 Debtor 1              Jeffrey         D.                Document
                                                          Pattock     Page 35 of 67
 Debtor 2              Nadine          R.                    Pattock                                          Case number (if known) 18-12974
                       First Name      Middle Name           Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        IRS c/o US Attorney 2 of 3                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                             ✔ Part 1: Creditors with Priority Unsecured Claims
       Name
        2100 Jamieson Ave                                     Line     2.1   of (Check one): ❑
       Number           Street                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Alexandria, VA 22314-5702
       City                             State     ZIP Code    Last 4 digits of account number

        IRS Hon. Jeff Session 3 of 3                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                             ✔ Part 1: Creditors with Priority Unsecured Claims
       Name
        10th St & Constitution Ave NW, Rm 6313                Line     2.1   of (Check one): ❑
       Number           Street                                                              ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        Washington, DC 20530
       City                             State     ZIP Code    Last 4 digits of account number




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               page 17 of 18
                Case 18-12974-BFK                   Doc 21       Filed 09/17/18 Entered 09/17/18 11:52:45                            Desc Main
 Debtor 1              Jeffrey              D.                  Document
                                                                 Pattock     Page 36 of 67
 Debtor 2              Nadine               R.                     Pattock                                     Case number (if known) 18-12974
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                           $2,500.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                            $2,500.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                    $221,931.32
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                          $221,931.32




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 18 of 18
                   Case 18-12974-BFK
 Fill in this information to identify your case:
                                                          Doc 21     Filed 09/17/18 Entered 09/17/18 11:52:45                                     Desc Main
                                                                    Document     Page 37 of 67
     Debtor 1                   Jeffrey              D.                 Pattock
                                First Name           Middle Name        Last Name

     Debtor 2                   Nadine               R.                 Pattock
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Eastern District of Virginia

     Case number                          18-12974                                                                                           ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                  Case 18-12974-BFK
 Fill in this information to identify your case:
                                                               Doc 21        Filed 09/17/18 Entered 09/17/18 11:52:45                                Desc Main
                                                                            Document     Page 38 of 67
  Debtor 1                        Jeffrey                 D.                    Pattock
                                 First Name              Middle Name            Last Name

  Debtor 2                        Nadine                  R.                    Pattock
  (Spouse, if filing)            First Name              Middle Name            Last Name

  United States Bankruptcy Court for the:                                  Eastern District of Virginia

  Case number                               18-12974                                                                                           ❑     Check if this is an
  (if known)                                                                                                                                         amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                     12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                          . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt
                                                                                                                   Check all schedules that apply:
3.1                                                                                                                ❑Schedule D, line
      Name
                                                                                                                   ❑Schedule E/F, line
      Number          Street                                                                                       ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                                  Schedule H: Your Codebtors                                                             page 1 of 1
                Case 18-12974-BFK
 Fill in this information to identify your case:
                                                         Doc 21      Filed 09/17/18 Entered 09/17/18 11:52:45                                    Desc Main
                                                                    Document     Page 39 of 67
  Debtor 1                   Jeffrey                D.                 Pattock
                             First Name            Middle Name         Last Name

  Debtor 2                   Nadine                 R.                 Pattock
  (Spouse, if filing)        First Name            Middle Name         Last Name                                                 Check if this is:

  United States Bankruptcy Court for the:                         Eastern District of Virginia                                   ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                           18-12974                                                                                       chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status            ✔Employed ❑Not Employed
                                                                            ❑                                                  ✔Employed ❑Not Employed
                                                                                                                               ❑
     attach a separate page with
     information about additional                                           Senior Anaylst                                     Senior Payroll Account
     employers.
                                               Occupation
     Include part time, seasonal, or                                        The Buffalo Group LLC                              Gryphon Technologies
     self-employed work.                       Employer's name
                                                                            1851 Alexander Bell Drive Ste 300                  80 M Street SE Ste 600
     Occupation may include student                                          Number Street                                      Number Street
                                               Employer's address
     or homemaker, if it applies.




                                                                            Reston, VA 20191                                   Washington, DC 20003
                                                                             City                     State    Zip Code         City                    State      Zip Code
                                               How long employed there? 1 year                                                  1 year


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $6,938.46                  $8,119.35

 3. Estimate and list monthly overtime pay.                                                  3.   +               $0.00    +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $6,938.46                  $8,119.35




Official Form 106I                                                            Schedule I: Your Income                                                                   page 1
 Debtor 1         CaseJeffrey
                        18-12974-BFK
                                  D.                                   Doc 21              Filed
                                                                                           Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2                   Nadine                          R.                            Document
                                                                                           Pattock      Page 40 of 67    Case number (if known) 18-12974
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $6,938.46                $8,119.35
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.             $1,432.54               $1,401.23

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                   $96.07

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $1,432.54               $1,497.30
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $5,505.92               $6,622.05
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.             $2,324.70                   $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $2,324.70                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $7,830.62   +            $6,622.05        =      $14,452.67

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.         $14,452.67
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                Case 18-12974-BFK
 Fill in this information to identify your case:
                                                           Doc 21        Filed 09/17/18 Entered 09/17/18 11:52:45                                Desc Main
                                                                        Document     Page 41 of 67
  Debtor 1                   Jeffrey                  D.                     Pattock
                             First Name              Middle Name            Last Name                               Check if this is:
  Debtor 2                   Nadine                   R.                     Pattock                                ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                               ❑A supplement showing postpetition
                                                                                                                        chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number                           18-12974                                                                        MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ✔ No
            ❑
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                      Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                            Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                                ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                           Child                               31
                                                                                                                                                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                           Daughter-in-law                     33
                                                                                                                                                        ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                           Grandson                            9
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                  4.                     $3,766.91


     If not included in line 4:
                                                                                                                                    4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                    4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                    4c.                      $200.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                    4d.                       $52.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                     Schedule J: Your Expenses                                                         page 1
 Debtor 1         CaseJeffrey
                        18-12974-BFK
                                  D.                  Doc 21         Filed
                                                                     Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2              Nadine                 R.                    Document
                                                                     Pattock      Page 42 of 67    Case number (if known) 18-12974
                       First Name             Middle Name               Last Name


                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                    $480.00

       6b. Water, sewer, garbage collection                                                                  6b.                    $140.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    $370.00

       6d. Other. Specify:                         Cell Phones                                               6d.                    $325.00

 7.    Food and housekeeping supplies                                                                        7.                 $1,300.00

 8.    Childcare and children’s education costs                                                              8.                      $50.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                     $350.00

 10. Personal care products and services                                                                     10.                    $145.00

 11.   Medical and dental expenses                                                                           11.                    $350.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $770.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    $100.00

 14. Charitable contributions and religious donations                                                        14.                     $20.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                     $0.00
       15a. Life insurance
                                                                                                             15b.                   $149.00
       15b. Health insurance
                                                                                                             15c.                   $310.00
       15c. Vehicle insurance
                                                                                                             15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: IRS $240 / Car Tax $198                                                                      16.                    $438.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.                   $787.56

       17b. Car payments for Vehicle 2                                                                       17b.                   $503.00

       17c. Other. Specify:             Car Payment for Vehicle 3                                            17c.                   $799.00

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1     CaseJeffrey
                    18-12974-BFK
                              D.                     Doc 21      Filed
                                                                 Pattock09/17/18 Entered 09/17/18 11:52:45 Desc Main
 Debtor 2              Nadine               R.                  Document
                                                                 Pattock      Page 43 of 67    Case number (if known) 18-12974
                       First Name           Middle Name              Last Name



 21. Other. Specify:                         Home Security                                                  21.    +        $50.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.        $11,455.47

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.             $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.        $11,455.47


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.        $14,452.67

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –    $11,455.47

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.         $2,997.20
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                             page 3
                  Case 18-12974-BFK
 Fill in this information to identify your case:
                                                                       Doc 21          Filed 09/17/18 Entered 09/17/18 11:52:45                                                            Desc Main
                                                                                      Document     Page 44 of 67
  Debtor 1                         Jeffrey                        D.                         Pattock
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Nadine                         R.                         Pattock
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Eastern District of Virginia

  Case number                                   18-12974                                                                                                                            ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $800,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $65,803.05


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $865,803.05



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $845,925.45

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $2,500.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $221,931.32


                                                                                                                                                                  Your total liabilities                  $1,070,356.77

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $14,452.67


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $11,455.47




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
               Case 18-12974-BFK                     Doc 21        Filed 09/17/18 Entered 09/17/18 11:52:45                                       Desc Main
 Debtor 1             Jeffrey                D.                   Document
                                                                   Pattock     Page 45 of 67
 Debtor 2             Nadine                 R.                       Pattock                                             Case number (if known) 18-12974
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                     $14,071.26




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $2,500.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $2,500.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                               page 2 of 2
                 Case 18-12974-BFK
 Fill in this information to identify your case:
                                                        Doc 21     Filed 09/17/18 Entered 09/17/18 11:52:45                                  Desc Main
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  Debtor 1                   Jeffrey               D.                 Pattock
                             First Name            Middle Name        Last Name

  Debtor 2                   Nadine                R.                 Pattock
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                           18-12974                                                                                         ❑    Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                  12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Jeffrey D. Pattock                                              ✘ /s/ Nadine R. Pattock
        Jeffrey D. Pattock, Debtor 1, Debtor 1                               Nadine R. Pattock, Debtor 2


        Date 09/13/2018                                                      Date 09/13/2018
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                Case 18-12974-BFK                       Doc 21      Filed 09/17/18 Entered 09/17/18 11:52:45                              Desc Main
                                                                   Document     Page 47 of 67
 Fill in this information to identify your case:

  Debtor 1                   Jeffrey               D.                  Pattock
                             First Name            Middle Name        Last Name

  Debtor 2                   Nadine                R.                  Pattock
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                           18-12974                                                                                      ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
              Case 18-12974-BFK                     Doc 21        Filed 09/17/18 Entered 09/17/18 11:52:45                                     Desc Main
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Debtor 1            Jeffrey              D.                       Pattock
Debtor 2            Nadine               R.                       Pattock                                             Case number (if known) 18-12974
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $54,561.56            bonuses, tips                         $59,107.95
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $66,820.81            bonuses, tips                         $78,459.99
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ✔ Wages, commissions,
                                                                                                               ❑
                                                       bonuses, tips                         $60,735.60            bonuses, tips                         $41,569.62
    (January 1 to December 31, 2016         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Military Retirement                       $22,666.00
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
              Case 18-12974-BFK                       Doc 21       Filed 09/17/18 Entered 09/17/18 11:52:45                                    Desc Main
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Debtor 1            Jeffrey                 D.                     Pattock
Debtor 2            Nadine                  R.                     Pattock                                               Case number (if known) 18-12974
                    First Name              Middle Name             Last Name


    For last calendar year:                           Military Retirement                       $34,000.00
    (January 1 to December 31, 2017          )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2016          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
              ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                              Dates of            Total amount paid            Amount you still owe       Was this payment for…
                                                              payment

                                                                                                                                         ✔ Mortgage
                                                                                                                                         ❑
             Pennymac Loan Svcs                              Monthly                          $11,300.73                  $685,263.44
             Creditor's Name                                                                                                             ❑Car
             PO Box 514387                                                                                                               ❑Credit card
             Number      Street
                                                                                                                                         ❑Loan repayment
             Los Angeles, CA 90051                                                                                                       ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code



                                                                                                                                         ❑Mortgage
             Chase Auto
             Creditor's Name
                                                             Monthly                           $2,364.00                   $36,430.96
                                                                                                                                         ✔ Car
                                                                                                                                         ❑
             PO Box 901003                                                                                                               ❑Credit card
             Number      Street
                                                                                                                                         ❑Loan repayment
             Fort Worth, TX 76101                                                                                                        ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3
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Debtor 1            Jeffrey                 D.                    Pattock
Debtor 2            Nadine                  R.                    Pattock                                          Case number (if known) 18-12974
                    First Name              Middle Name            Last Name

                                                             Dates of            Total amount paid         Amount you still owe       Was this payment for…
                                                             payment

                                                                                                                                     ❑Mortgage
             Citizen Auto Finance
             Creditor's Name
                                                             Monthly                         $1,509.00                 $18,066.23
                                                                                                                                     ✔ Car
                                                                                                                                     ❑
             480 Jefferson Blvd                                                                                                      ❑Credit card
             Number      Street
                                                                                                                                     ❑Loan repayment
             Warwick, RI 02886                                                                                                       ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code



                                                                                                                                     ❑Mortgage
             Fidelity Bank
             Creditor's Name
                                                             Monthly                         $2,397.00                 $49,171.82
                                                                                                                                     ✔ Car
                                                                                                                                     ❑
             3 Corporate Sq NE Ste 110                                                                                               ❑Credit card
             Number      Street
                                                                                                                                     ❑Loan repayment
             Atlanta, GA 30329                                                                                                       ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code



                                                                                                                                     ❑Mortgage
             American Express                                Monthly                          $870.00                        $0.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 981537                                                                                                           ✔ Credit card
                                                                                                                                     ❑
             Number      Street
                                                                                                                                     ❑Loan repayment
             El Paso, TX 79998                                                                                                       ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code



                                                                                                                                     ❑Mortgage
             Chase Card                                      Monthly                          $854.00                        $0.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 15298                                                                                                            ✔ Credit card
                                                                                                                                     ❑
             Number      Street
                                                                                                                                     ❑Loan repayment
             Wilmington, DE 19850                                                                                                    ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code



                                                                                                                                     ❑Mortgage
             Chase Card                                      Monthly                          $829.00                        $0.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 15298                                                                                                            ✔ Credit card
                                                                                                                                     ❑
             Number      Street
                                                                                                                                     ❑Loan repayment
             Wilmington, DE 19850                                                                                                    ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code



                                                                                                                                     ❑Mortgage
             Chase Card                                      Monthly                          $857.00                        $0.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 15298                                                                                                            ✔ Credit card
                                                                                                                                     ❑
             Number      Street
                                                                                                                                     ❑Loan repayment
             Wilmington, DE 19850                                                                                                    ❑Suppliers or vendors
                                                                                                                                     ❑Other
             City                   State        ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1            Jeffrey                 D.                    Pattock
Debtor 2            Nadine                  R.                    Pattock                                             Case number (if known) 18-12974
                    First Name              Middle Name            Last Name

                                                             Dates of             Total amount paid          Amount you still owe         Was this payment for…
                                                             payment

                                                                                                                                         ❑Mortgage
              Citi Cards/Citibank                            Monthly                            $991.00                        $0.00
             Creditor's Name                                                                                                             ❑Car
              PO Box 6241                                                                                                                ✔ Credit card
                                                                                                                                         ❑
             Number      Street
                                                                                                                                         ❑Loan repayment
              Sioux Falls, SD 57117                                                                                                      ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code



                                                                                                                                         ❑Mortgage
              Citi Cards/Citibank                            Monthly                            $853.00                        $0.00
             Creditor's Name                                                                                                             ❑Car
              PO Box 6241                                                                                                                ✔ Credit card
                                                                                                                                         ❑
             Number      Street
                                                                                                                                         ❑Loan repayment
              Sioux Falls, SD 57117                                                                                                      ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code



                                                                                                                                         ❑Mortgage
              Capital One                                    Monthly                          $1,108.00                        $0.00
             Creditor's Name                                                                                                             ❑Car
              PO Box 30285                                                                                                               ✔ Credit card
                                                                                                                                         ❑
             Number      Street
                                                                                                                                         ❑Loan repayment
              Salt Lake City, UT 84130                                                                                                   ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code



                                                                                                                                         ❑Mortgage
              Capital One                                    Monthly                          $1,093.00                        $0.00
             Creditor's Name                                                                                                             ❑Car
              PO Box 30285                                                                                                               ✔ Credit card
                                                                                                                                         ❑
             Number      Street
                                                                                                                                         ❑Loan repayment
              Salt Lake City, UT 84130                                                                                                   ❑Suppliers or vendors
                                                                                                                                         ❑Other
             City                   State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 5
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Debtor 1            Jeffrey               D.                    Pattock
Debtor 2            Nadine                R.                    Pattock                                           Case number (if known) 18-12974
                    First Name            Middle Name               Last Name

                                                         Dates of               Total amount paid   Amount you still owe   Reason for this payment
                                                         payment



    Insider's Name


    Number     Street




    City                         State   ZIP Code




    Insider's Name


    Number     Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                         Dates of               Total amount paid   Amount you still owe   Reason for this payment
                                                         payment                                                           Include creditor’s name



    Insider's Name


    Number     Street




    City                         State   ZIP Code




    Insider's Name


    Number     Street




    City                         State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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Debtor 1            Jeffrey                D.                      Pattock
Debtor 2            Nadine                 R.                      Pattock                                              Case number (if known) 18-12974
                    First Name             Middle Name              Last Name
 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State     ZIP Code


    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.

  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                            Date action was      Amount
                                                                                                                             taken
    Creditor’s Name


    Number       Street




                                                           Last 4 digits of account number: XXXX–
    City                         State     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 7
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Debtor 1            Jeffrey                D.                     Pattock
Debtor 2            Nadine                 R.                     Pattock                                          Case number (if known) 18-12974
                    First Name             Middle Name             Last Name



  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave    Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you

     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave    Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




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Debtor 1             Jeffrey                D.                      Pattock
Debtor 2             Nadine                 R.                      Pattock                                         Case number (if known) 18-12974
                     First Name             Middle Name              Last Name

     Gifts or contributions to charities that       Describe what you contributed                                  Date you             Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number     Street



    City                       State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and           Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                        Include the amount that insurance has paid. List pending
                                                  insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Description and value of any property transferred              Date payment or      Amount of payment
     Law Offices Of Robert Weed                                                                                    transfer was made
    Person Who Was Paid                            Attorney’s Fee; Attorney's Fee
                                                                                                                  Sep 11, 2018                        $2,485.00
     1376 Old Bridge Rd. Ste 101-4
    Number     Street
                                                                                                                  Aug 30, 2018                        $1,700.00



    Woodbridge, VA 22192
    City                       State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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Debtor 2            Nadine                 R.                   Pattock                                           Case number (if known) 18-12974
                    First Name             Middle Name           Last Name

                                                 Description and value of any property transferred              Date payment or         Amount of payment
     Money Sharp                                                                                                transfer was made
    Person Who Was Paid
                                                                                                                                                       $10.00
    Number     Street




     ,
    City                      State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of any property transferred              Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                      State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of property          Describe any property or payments received       Date transfer was
                                                 transferred                                or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                      State   ZIP Code

    Person's relationship to you




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Debtor 2            Nadine                 R.                   Pattock                                           Case number (if known) 18-12974
                    First Name             Middle Name           Last Name

                                                 Description and value of property          Describe any property or payments received       Date transfer was
                                                 transferred                                or debts paid in exchange                        made

    Person Who Received Transfer


    Number      Street




    City                      State   ZIP Code

    Person's relationship to you



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
    Name of trust                                Description and value of the property transferred                                           Date transfer was
                                                                                                                                             made




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Last 4 digits of account number        Type of account or        Date account was            Last balance
                                                                                         instrument                closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

    Name of Financial Institution
                                                  XXXX–                                ❑Checking
                                                                                       ❑Savings
    Number      Street
                                                                                       ❑Money market
                                                                                       ❑Brokerage
                                                                                       ❑Other
    City                      State   ZIP Code




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Debtor 2            Nadine                 R.                    Pattock                                          Case number (if known) 18-12974
                    First Name             Middle Name           Last Name

                                                  Last 4 digits of account number          Type of account or      Date account was          Last balance
                                                                                           instrument              closed, sold, moved, or   before closing or
                                                                                                                   transferred               transfer

    Name of Financial Institution
                                                  XXXX–                                    ❑Checking
                                                                                           ❑Savings
    Number      Street
                                                                                           ❑Money market
                                                                                           ❑Brokerage
                                                                                           ❑Other
    City                      State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Who else had access to it?                     Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                             ❑No
    Name of Financial Institution                 Name
                                                                                                                                             ❑Yes

    Number      Street                            Number     Street



                                                  City                 State    ZIP Code

    City                      State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Who else has or had access to it?              Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                             ❑No
    Name of Storage Facility                      Name
                                                                                                                                             ❑Yes

    Number      Street                            Number     Street



                                                  City                 State    ZIP Code

    City                      State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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Debtor 2            Nadine                 R.                      Pattock                                               Case number (if known) 18-12974
                    First Name             Middle Name              Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                      State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                      State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.


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Debtor 2             Nadine                 R.                        Pattock                                              Case number (if known) 18-12974
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                       State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                       State   ZIP Code




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Debtor 2            Nadine                 R.                      Pattock                                        Case number (if known) 18-12974
                    First Name             Middle Name             Last Name

                                                   Describe the nature of the business                    Employer Identification number
                                                                                                          Do not include Social Security number or ITIN.
    Name
                                                                                                           EIN:            –

    Number     Street
                                                   Name of accountant or bookkeeper                       Dates business existed

                                                                                                           From                  To

    City                      State   ZIP Code

                                                   Describe the nature of the business                    Employer Identification number
                                                                                                          Do not include Social Security number or ITIN.
    Name
                                                                                                           EIN:            –

    Number     Street
                                                   Name of accountant or bookkeeper                       Dates business existed

                                                                                                           From                  To

    City                      State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                   Date issued



    Name                                          MM / DD / YYYY



    Number     Street




    City                      State   ZIP Code




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 Debtor 1           Jeffrey                 D.                     Pattock
 Debtor 2           Nadine                  R.                     Pattock                                             Case number (if known) 18-12974
                    First Name              Middle Name             Last Name

 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
  correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                      /s/ Jeffrey D. Pattock                       ✘                      /s/ Nadine R. Pattock
        Signature of Jeffrey D. Pattock, Debtor 1                            Signature of Nadine R. Pattock, Debtor 2


         Date 09/13/2018                                                     Date 09/13/2018




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                         Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                                 Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 16
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 Fill in this information to identify your case:
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  Debtor 1                   Jeffrey               D.                 Pattock
                             First Name            Middle Name        Last Name

  Debtor 2                   Nadine                R.                 Pattock
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                           18-12974                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                     ❑ No
    name:                 Chase Auto
                                                                            ❑ Retain the property and redeem it.                          ❑ Yes
    Description of
    property
                          2016 Lincoln MKX
                                                                            ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
    securing debt:
                                                                            ❑
                                                                                   Debtor will continue making payments without
                                                                                   reaffirming.

    Creditor’s                                                              ❑ Surrender the property.                                     ❑ No
    name:                 Fidelity Bank
                                                                            ❑ Retain the property and redeem it.                          ❑ Yes
    Description of
    property
                          2017 Chrysler Pacifica
                                                                            ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
    securing debt:
                                                                            ❑
                                                                                   Debtor will continue making payments without
                                                                                   reaffirming.




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 Debtor 1      CaseJeffrey
                     18-12974-BFK
                               D.               Doc 21       Filed
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 Debtor 2           Nadine               R.                 Document
                                                             Pattock      Page 64 of 67    Case number (if known) 18-12974
                    First Name           Middle Name            Last Name




         Additional Page for Part 1

  Creditor’s                                                       ✔ Surrender the property.
                                                                   ❑                                                  ❑ No
  name:             Nationstar Mortgage/Mr. Cooper
                                                                   ❑ Retain the property and redeem it.               ❑ Yes
  Description of
  property
                    6722 Spring Forest San Antonio, TX
                    78249
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
  securing debt:
                                                                   ❑ Retain the property and [explain]:



  Creditor’s                                                       ❑ Surrender the property.                          ❑ No
  name:             Pennymac Loan Svcs
                                                                   ❑ Retain the property and redeem it.               ❑ Yes
  Description of
  property
                    47 Liberty Knolls Drive Stafford, VA
                    22554
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
  securing debt:
                                                                   ❑
                                                                       Debtor will continue making payments without
                                                                       reaffirming.


  Creditor’s                                                       ❑ Surrender the property.                          ❑ No
  name:             Citizen Auto Finance
                                                                   ❑ Retain the property and redeem it.               ❑ Yes
  Description of
  property
                    2015 Chrysler 200C
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
  securing debt:
                                                                   ❑
                                                                       Debtor will continue making payments without
                                                                       reaffirming.




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7              page
 Debtor 1     CaseJeffrey
                    18-12974-BFK
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 Debtor 2             Nadine                R.                   Document
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                      First Name                Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                      /s/ Jeffrey D. Pattock                        ✘                     /s/ Nadine R. Pattock
    Signature of Debtor 1                                                Signature of Debtor 2


    Date 09/13/2018                                                      Date 09/13/2018
            MM/ DD/ YYYY                                                         MM/ DD/ YYYY




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 Fill in this information to identify your case:
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  Debtor 1                     Jeffrey                  D.                 Pattock
                               First Name               Middle Name        Last Name

  Debtor 2                     Nadine                   R.                 Pattock
  (Spouse, if filing)          First Name               Middle Name        Last Name

  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number                            18-12974
  (if known)                                                                                                                ❑ Check if this is an amended filing
Statement for Pattock, Jeffrey D.

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                      12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies to only
one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal, family, or
         household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form 101).
           ❑No.      Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                     supplement with the signed Form 122A-1.
           ✔Yes.
           ❑            Go to Part 2.



 Part 2: Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ✔ No. Go to line 3.
           ❑
           ❑Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑No. Go to line 3.
                        ❑Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                                 submit this supplement with the signed Form 122A-1.


      3. Are you or have you been a Reservist or member of the National Guard?
           ❑No. Complete Form 122A-1. Do not submit this supplement.
           ✔Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
           ❑
                ❑No. Complete Form 122A-1. Do not submit this supplement.
                ✔Yes. Check any one of the following categories that applies:
                ❑
               ❑I was called to active duty after September 11, 2001, for at least 90 days and                  If you checked one of the categories to the left, go to Form
                                                                                                                122A-1. On the top of page 1 of Form 122A-1, check box 3,
                  remain on active duty.
                                                                                                                The Means Test does not apply now, and sign Part 3. Then
               ✔I was called to active duty after September 11, 2001, for at least 90 days and was
               ❑                                                                                                submit this supplement with the signed Form 122A-1. You are
                  released from active duty on          06/30/2017     , which is fewer than 540 days           not required to fill out the rest of Official Form 122A-1 during
                                                                                                                the exclusion period. The exclusion period means the time you
                  before I file this bankruptcy case.
                                                                                                                are on active duty or are performing a homeland defense
               ❑I am performing a homeland defense activity for at least 90 days.                               activity, and for 540 days afterward. 11 U.S.C. § 707(b)
                                                                                                                (2)(D)(ii).
               ❑I performed a homeland defense activity for at least 90 days, ending on
                                         , which is fewer than 540 days before I file this bankruptcy           If your exclusion period ends before your case is closed, you
                  case.                                                                                         may have to file an amended form later




 Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                   page 1
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                                                  United States Bankruptcy Court
                                                           Eastern District of Virginia
In re
Pattock, Jeffrey D.                                                                                                Case No. 18-12974
Pattock, Nadine R.                                                                                                 Chapter         7
Debtor(s)

                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
           For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $4,485.00
           Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                         $4,185.00
           Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          $300.00

2.   The source of the compensation to be paid to me was:
           ✔
           ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
           ✔
           ❑    Debtor                               ❑    Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:



                                                                         CERTIFICATION
                           I certify that the foregoing is a complete statement of any agreement or
                        arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                        proceeding.

                        09/13/2018                                      /s/ Robert R. Weed
                        Date                                                Signature of Attorney

                                                                        Law Offices Of Robert Weed
                                                                           Name of law firm
